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           Exhibit P-7
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                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT

   SUSAN BYRNE,                                 :
     Plaintiff                                  :    Civil Action No.
                                                :
   vs.                                          :    3:17-cv-01104-VLB
                                                :
   YALE UNIVERSITY                              :
     Defendant                                  :    DECEMBER 30, 2019
                                                :

                           PLAINTIFF’S PROPOSED VERDICT FORM

               We the jury, unanimously answer the questions submitted to us as follows:

CONNECTICUT FAIR EMPLOYMENT PRACTICES ACT: RETALIATION

QUESTION NO. 1: Did Ms. Byrne engage in protected activity as defined by CFEPA?

         Yes________               No________


If you answered "Yes" please proceed to the next question.

If you answered "No" please stop and proceed to the signature line at the end of this
document.

QUESTION NO. 2: Do you find that Plaintiff has proven by a preponderance of the
evidence that her protected activity was a motivating factor for the Department’s negative
tenure vote?

         Yes________               No________


If you answered "Yes" then you have found for Plaintiff. Please proceed to the next
question.

If you answered "No" please stop and proceed to the signature line at the end of this
document.

QUESTION NO. 3: What amount of damages do you award?

         As to past lost wages and benefits:    $_________________________

         As to future lost wages and benefits: $_________________________

         As to loss of enjoyment of life:       $_________________________
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      As to harm to reputation:                $_________________________

      As to emotional distress:                $_________________________

      TOTAL:                                   $_________________________


DEFENDANT’S OBJECTIONS:

With regard to Question 1, the proposed verdict form fails to state the applicable standard
(preponderance of the evidence) and fails to instruct the jury to consider the question of
whether the Defendant was even aware of Plaintiff’s protected speech – a prerequisite to
finding in Plaintiff’s favor. See, e.g., Gray v. City of N.Y., 2011 U.S. Dist. LEXIS 142427, at
*41-42 (E.D.N.Y. Dec. 12, 2011); see also Defendant’s Proposed Jury Instructions; compare
Defendant’s Proposed Verdict Form.

With regard to Question 2, Plaintiff states the incorrect legal standard (motivating factor
instead of “but-for” standard). See, e.g., Falcon v. State of Conn. Judicial Branch, 2018
U.S. Dist. LEXIS 196230, at *25-26 (D. Conn. Sept. 25, 2018) (describing the elements of a
Title VII retaliation claim as including but-for causation and noting that the elements of a
retaliation claim are identical under CFEPA and Title VII); see also Defendant’s Proposed
Jury Instructions; compare Defendant’s Proposed Verdict Form.

With regard to Question 3, Defendant objects inasmuch as the issue of damages should
not be given to the jury (see, e.g., Broadnax v. City of New Haven, 415 F.3d 265, 271 (2d
Cir. 2005)), and if it is, then the trial should be bifurcated. Further, the proposed verdict
form assumes the jury will award damages. If the issue of damages does go to the jury,
there should be a separate section at the end of this verdict form that deals with them.
Finally, the instruction breaks out “loss of enjoyment of life,” “harm to reputation,” and
“emotional distress,” which at most are components of compensatory damages and not
separate categories of damages that Plaintiff can recover. See McInnis v. Town of Weston,
458 F. Supp. 2d 7, 18 (D. Conn. 2006). They should not be broken out, as doing so will only
artificially inflate the jury’s award.



TITLE VII: RETALIATION

QUESTION NO. 1: Did Ms. Byrne engage in protected activity as defined by Title VII?

      Yes________                 No________


If you answered "Yes" please proceed to the next question.

If you answered "No" please stop and proceed to the signature line at the end of this
document.
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QUESTION NO. 2: Do you find that Plaintiff has proven by a preponderance of the
evidence that retaliation was a but-for reason for the Department’s negative tenure vote?

      Yes________                 No________

If you answered "Yes" then you have found for Plaintiff. Please proceed to the next
question.

If you answered "No" please stop and proceed to the signature line at the end of this
document.

QUESTION NO. 3: What amount of damages do you award?

      As to past lost wages and benefits:      $_________________________

      As to future lost wages and benefits: $_________________________

      As to loss of enjoyment of life:         $_________________________

      As to harm to reputation:                $_________________________

      As to emotional distress:                $_________________________

      TOTAL:                                   $_________________________

DEFENDANT’S OBJECTIONS:
With regard to Question 1, the proposed verdict form fails to state the applicable standard
(preponderance of the evidence) and fails to instruct the jury to consider the question of
whether the Defendant was even aware of Plaintiff’s protected speech – a prerequisite to
finding in Plaintiff’s favor. See, e.g., Gray v. City of N.Y., 2011 U.S. Dist. LEXIS 142427, at
*41-42 (E.D.N.Y. Dec. 12, 2011); see also Defendant’s Proposed Jury Instructions; compare
Defendant’s Proposed Verdict Form.

With regard to Question 2, Plaintiff presents the “but-for” standard incorrectly by referring
to “a” but-for reason instead of “the” but-for reason. Univ. of Tex. Sw. Med. Ctr. v. Nassar,
570 U.S. 338, 352 (2013)(“Title VII retaliation claims require proof that the desire to retaliate
was the but-for cause of the challenged employment action)(emphasis added); see
Defendant’s Proposed Jury Instructions; compare Defendant’s Proposed Verdict Form.

With regard to Question 3, Defendant objects inasmuch as the issue of damages should
not be given to the jury (see, e.g., Broadnax v. City of New Haven, 415 F.3d 265, 271 (2d
Cir. 2005)), and if it is, then the trial should be bifurcated. Further, the proposed verdict
form assumes the jury will award damages. If the issue of damages does go to the jury,
there should be a separate section at the end of this verdict form that deals with them.
Finally, the instruction breaks out “loss of enjoyment of life,” “harm to reputation,” and
“emotional distress,” which at most are components of compensatory damages and not
separate categories of damages that Plaintiff can recover. See McInnis v. Town of Weston,
458 F. Supp. 2d 7, 18 (D. Conn. 2006). They should not be broken out, as doing so will only
artificially inflate the jury’s award.
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NEGLIGENT MISREPRESENTATION

QUESTION NO. 1: Has Plaintiff proven by a preponderance of the evidence the elements
of her negligent misrepresentation claim?

      Yes________                 No________

If you answered "Yes" please proceed to the next question.

If you answered "No" please stop and proceed to the signature line at the end of this
document.

QUESTION NO. 2: Has Plaintiff proven by a preponderance of the evidence that she is
entitled to economic and non-economic damages for negligent misrepresentation?

      Yes________                 No________


If you answered "Yes" then you have found for Plaintiff. Please proceed to the next
question.

If you answered "No" please stop and proceed to the signature line at the end of this
document.

QUESTION NO. 3: What amount of damages do you award?

      As to past lost wages and benefits:      $_________________________

      As to future lost wages and benefits: $_________________________

      As to loss of enjoyment of life:         $_________________________

      As to harm to reputation:                $_________________________

      As to emotional distress:                $_________________________

      TOTAL:                                   $_________________________
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DEFENDANT’S OBJECTIONS:

With regard to Question 1, the proposed verdict form fails to break out the elements on her
claim, as it should so the jury does not ignore its obligation to determine if Plaintiff proved
her claim. See Defendant’s Proposed Jury Instructions; compare Defendant’s Proposed
Verdict Form.

With regard to Question 3, Defendant objects inasmuch as the issue of damages should
not be given to the jury (see, e.g., Broadnax v. City of New Haven, 415 F.3d 265, 271 (2d
Cir. 2005)), and if it is, then the trial should be bifurcated. Further, the proposed verdict
form assumes the jury will award damages. If the issue of damages does go to the jury,
there should be a separate section at the end of this verdict form that deals with them.
Finally, the instruction breaks out “loss of enjoyment of life,” “harm to reputation,” and
“emotional distress,” which at most are components of compensatory damages and not
separate categories of damages that Plaintiff can recover. See McInnis v. Town of Weston,
458 F. Supp. 2d 7, 18 (D. Conn. 2006). They should not be broken out, as doing so will only
artificially inflate the jury’s award.

BREACH OF CONTRACT

QUESTION NO. 1: Has Plaintiff proven by a preponderance of the evidence the elements
of her breach of contract claim?

      Yes________                No________

If you answered "Yes" please proceed to the next question.

If you answered "No" please stop and proceed to the signature line at the end of this
document.

QUESTION NO. 2: Has Plaintiff proven by a preponderance of the evidence that she is
entitled to economic damages for breach of contract?

      Yes________                No________

If you answered "Yes" then you have found for Plaintiff. Please proceed to the next
question.

If you answered "No" please stop and proceed to the signature line at the end of this
document.

QUESTION NO. 3: What amount of damages do you award?

      As to past lost wages and benefits:     $_________________________

      As to future lost wages and benefits: $_________________________


      TOTAL:                                  $_________________________
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DEFENDANT’S OBJECTIONS:

With regard to Question 1, the proposed verdict form fails to break out the elements on her
claim, as it should so the jury does not ignore its obligation to determine if Plaintiff proved
her claim. See Defendant’s Proposed Jury Instructions; compare Defendant’s Proposed
Verdict Form.

With regard to Question 2, the proposed verdict form fails to reference the critical issue of
speculative damages. One of the core issues at issue is whether Plaintiff’s damages hinge
wholly on impermissible speculation. The jury must make this determination and should
be instructed as such. CAS Construction Co. v. Town of East Hartford, 82 Conn. App. 543,
556 (2004) (“Damages are recoverable only to the extent that the evidence affords a
sufficient basis for estimating their amount in money with reasonable certainty. Thus, the
court must have evidence by which it can calculate the damages, which is not merely
subjective or speculative…”); see Defendant’s Proposed Jury Instructions; compare
Defendant’s Proposed Verdict Form

With regard to Question 3, Defendant objects inasmuch as the issue of damages should
not be given to the jury (see, e.g., Broadnax v. City of New Haven, 415 F.3d 265, 271 (2d
Cir. 2005)), and if it is, then the trial should be bifurcated. Further, the proposed verdict
form assumes the jury will award damages. If the issue of damages does go to the jury,
there should be a separate section at the end of this verdict form that deals with them.
Finally, the instruction breaks out “future lost wages,” which impermissibly requires the
jury to award speculative damages. CAS Construction Co. v. Town of East Hartford, 82
Conn. App. 543, 556 (2004).


Have the foreperson sign and date this verdict form.



Signed: ____________________________________
                 Foreperson

Dated: ____________________________________
                    Date
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PLAINTIFF,                           DEFENDANT,
SUSAN BYRNE                          YALE UNIVERSITY



/s/ Claire Howard                    /s/ David C. Salazar-Austin
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                                 CERTIFICATION OF SERVICE

         I hereby certify that on December 30, 2019, a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of

this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing

system and by mail to anyone unable to accept electronic filing as indicated on the Notice

of Electronic Filing. Parties may access this filing through the Court’s CM/ECF System.



                                        /s/ Claire Howard
                                        Claire Howard
                                        4848-0716-2800, v. 1




4843-6957-5344, v. 1
